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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                          No. 14-1118V
                                     Filed: January 13, 2016

* * * * * * * * * * * * * * * *                            UNPUBLISHED
CORNELL YELLEN,                               *
                                              *            Special Master Hamilton-Fieldman
               Petitioner,                    *
                                              *            Joint Stipulation on Damages;
v.                                            *            Influenza (“Flu”) Vaccine;
                                              *            Narcolepsy.
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
               Respondent.                    *
* * * * * * * * * * * * * * * *
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Justine E. Walters, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION1

        On November 18, 2014, Cornell Yellen (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered on September 23, 2013
caused him to develop cervical dystonia, essential tremors, and narcolepsy. Petition (“Pet.”),
ECF No. 1, at 1-3. On August 13, 2015, Petitioner amended his Petition to allege only
narcolepsy as his vaccine-caused injury. See Amended Petition, ECF No. 20.

       On January 13, 2016, the parties filed a stipulation in which they state that a decision
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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should be entered awarding compensation. Stipulation, ECF No. 26. Respondent denies that the
flu vaccine caused Petitioner’s condition or any other injury. However, the parties agree to the
joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $25,000.00 in the form of a check payable to Petitioner. This amount
       represents compensation for all damages that would be available under 42 U.S.C. §
       300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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